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                                       UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF PUERTO RICO

    In re:                                                                            PROMESA

    THE FINANCIAL OVERSIGHT AND MANAGEMENT                                            Title III
    BOARD FOR PUERTO RICO,
                                                                                      No. 17 BK 3283-LTS
    as representative of
                                                                                      (Jointly Administered)
    THE COMMONWEALTH OF PUERTO RICO, et al.,

    Debtor.1

                  INFORMATIVE MOTION REGARDING MARCH 23-24, 2022 HEARING

TO THE HONORABLE COURT:

             PLEASE TAKE NOTICE that, pursuant to this Court’s Order Regarding Procedures for

March 23-24, 2022, Omnibus Hearing [Dkt. No. 20323], counsel for Unión de Trabajadores de la

Industria Eléctrica y Riego Inc. (“UTIER”) and Sistema de Retiro de los Empleados de la Autoridad

de Energía Eléctrica (“SREAEE”) hereby respectfully state as follows:

             1.      Jessica E. Méndez-Colberg and Rolando Emmanuelli-Jiménez of Bufete Emmanuelli,

C.S.P., will appear on behalf of UTIER and SREAEE on March 23, 2022, Omnibus Hearing

(“Hearing”) which will be conducted virtually via Zoom and telephonic platforms, and to the extent

necessary, will present argument.

             2.      The email address of Ms. Jessica E. Méndez Colberg is jessica@emmanuelli.law and

the email address of Mr. Rolando Emmanuelli Jiménez is rolando@emmanuelli.law.




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    The Debtors in these Title III cases, along with each Debtor’s respective Title III case number and the last four (4) digits of each
    Debtor’s Federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK
    3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy
    Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority
    (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of
    the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal
    Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 04780-LTS) (Last Four Digits
    of Federal Tax ID: 3747) (Title III case numbers are listed as Bankruptcy Case numbers due to software limitations).

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         3.     If necessary and/or if required by the Court, counsel for UTIER and SREAEE will

particularly address all matters related to the Joint Reservation of Rights and Request for Relief of

Unión de Trabajadores de la Industria Eléctrica y Riego, Inc. (UTIER) and Sistema de Retiro de los

Empleados de la Autoridad de Energía Eléctrica (SREAEE) Regarding Urgent Motion of the Ad Hoc

Group of PREPA Bondholders Pursuant to Section 312 of PROMESA and Section 105 of the

Bankruptcy Code to Appoint a Mediator and Impose Deadlines for a PREPA Plan of Adjustment

Doc#:2718, ECF No. 2724 in Case No. 17-04780, as well as any other Status Report or motion further

filed with regards to the mediation of a PREPA Plan of Adjustment.

         4.     Because the Agenda for the Hearing has not yet been issued, UTIER and SREAEE

reserve the right to present argument at the Hearing concerning any of the matters outlined in the

Agenda that may impact UTIER’s and SREAEE’s rights.

         5.     In the event, there is a matter included in the Agenda that requires argument from

UTIER and/or SREAEE, an amended motion will be filed consistent with the Hearing Procedures

Order.

         6.     Counsel will be prepared to respond to any matters raised by the Court or to any

statements made by any party in connection with the above-captioned Title III proceedings or any

adversary proceedings currently pending in the above-captioned Title III proceedings.

         WHEREFORE, UTIER and SREAEE respectfully request that the Court take notice of the

above stated.

         RESPECTFULLY SUBMITTED.

         WE HEREBY CERTIFY that on this same date I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

participants and Standard Parties. A courtesy copy of this Motion will be delivered to the Court by

email to SwainDPRCorresp@nysd.uscourts.gov as provided in First Amended Standing Order.
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      In Ponce, Puerto Rico, this 17th day of March 2022.




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                    Fax: (787) 841-1435

                   /s/Rolando Emmanuelli Jiménez
                   Rolando Emmanuelli-Jiménez
                   USDC: 214105

                   /s/Jessica E. Méndez Colberg
                   Jessica E. Méndez-Colberg
                   USDC: 302108

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